
PER CURIAM
On consideration of the affidavit of Ronald D. Swanson-Cerna, wherein he consents to disbarment from the bar of the District of Columbia pursuant to D.C. Bar Rule XI, § 12, which affidavit has been filed with the Clerk of this court, and the Report and Recommendation of the Board on Professional Responsibility, it is
ORDERED that the said Ronald D. Swanson-Cerna is hereby disbarred by consent.
The Clerk shall publish this order, but the affidavit shall not be publicly disclosed or otherwise made available except upon order of the court or upon written consent of the respondent.
The Clerk shall cause a copy of this order to be transmitted to the Chairman of the Board on Professional Responsibility and to the respondent, thereby giving him notice of the provisions of Rule XI, §§ 14 and 16, which set forth certain rights and responsibilities of disbarred attorneys and the effect of failure to comply therewith.
